                          Case 6:22-mj-00116-JCM Document 1 Filed 05/26/22 Page 1 of 3
AOr)l   (R.\.llrll) ( rinrinrl Co rpliint

                                            UNrrrn SrRres Drsrrucr Counr                                                                FILED
                                                                         lor the                                                       May 26, 2022
                                                                                                                               CLERK, U.S. DISTRICT COURT
                                                               Ncsrern District   of lcras          E                          WESTERN DISTRICT OF TEXAS

                    []nited Statcs of Amcrica                                                                                           Melanie Miller
                                                                                                                         BY: ________________________________
                                                                                                                                                 DEPUTY
                                                                                     (   asc No.     W22-116M

                      CLIFFORD HOPKINS


                               DeJi\tdtlnt(s)


                                                      CRI       \II\.\I,   CO}I PLAIYI
           I, the complainanl in this case, state that the following is true to the bcst of my knowledge and belief
On or about the date(s)             of              May  ,2022
                                                          17                        in the county   of            McLennan                    irr the

        Westem            District       ol'         Texas              , the defendant(s) violated:

              Codt     Sec   tion                                                        Offenst' Description
18 USC 751                                           Escape




           This crinrinal complaint is based on thcsc facts
See attached affidavit




           -'l Contilucd        on thc attachcd sheet



                                                                                                            'pluinu   tttiy    uture

                                                                                               EARVIN MISSICK, lnvestigator USMS
                                                                                                         Printtd nantc   tnl   title

Su'orn kl belbrc rrrc and signcd in r,rl prescncc



Datc             05/26/2022
                                                                                                           .ludge's sign nte

Citv and statc                                  Waco. Texas                                 JEFFREY C. MANSKE, US Magistrate Judge
                                                                                                         PrinteLl nane rtnt    titlc
                  Case 6:22-mj-00116-JCM Document 1 Filed 05/26/22 Page 2 of 3

                                                 AFFIDAVIT
                                            United States of America
                                                       vs.
                                                Clifford Hopkins

Affiant, Earvin Missick, being duly sworn, do hereby depose and state that I am a Deputy US Marshal, authorized
to enforce the laws of the United States of America, including but not limited to, the investigations to locate and
apprehend federal fugitives.

Affiant has been employed with the United States Marshals Service since 2018 and prior was employed by the
United States Border Patrol from August 2010 to February 2018. The Affiant has been a member of the United
States Marshals Service for 4 years and have investigated multiple fugitive cases relating to violent crimes. The
Affiant has arrested subjects wanted for Murder, Manslaughter, felony assault, assault with intent to kill, felony
possession of controlled substance, felony sex offenses, various probation violations, assault, escape, and armed
robbery. The Affiant has also interviewed numerous arrestees and subjects regarding violent crimes.

According to conviction documents, on January 23, 2019, CLIFFORD HOPKINS was convicted of 18 USC §§
922(g)(1), Possession of A Firearm by a Convicted Felon, in the Western District of Texas, Waco Division, and
sentenced to a term in BOP of 48 months followed by a 3 year of supervised release, $500 Fine, and $100 Special
Assessment.

On January 7, 2022, Clifford Hopkins read the Salvation Army Residential Reentry Center (SARRC) Orientation
Packet. The packet contains the acknowledgement of custody which stated: Public Law 89-176, 89th Congress.
H.R. 6964, September 10,1965, amends Section (d) of Section 4082 of Title 18, United States code as follows:
“The willful failure of a prisoner to remain within the extended limits of his confinement, or to return with the
time prescribed to an institution or facility designed by the Attorney general, shall be deemed an escape from
custody of the Attorney General, punishable as provide in Chapter 35 of this title.”

CLIFFORD HOPKINS signed documentation acknowledging that he understood that if he did not report or
remain at his designation facility or home, it shall be deemed as an escape from custody of the Attorney General,
punishable as provided in Section 751 of Title 18, United States Code.

On October 20, 2021, Hopkins transferred from USP Beaumont, arriving at the Salvation Army Center in Waco,
Texas. HOPKINS had a RRC placement duration of 252 days and was scheduled to release via Good Conduct
Time on June 28, 2022. He has 3 years of supervised release to follow.

Details of Escape: At approximately 9:15AM on May 17, 2022, HOPKINS, who is on Home Confinement, was
contacted and told to return to the RRC by 2:00 PM due to his Urine Analysis being positive for cocaine. At 2:05
PM, HOPKINS still had not arrived at the RRC. His ankle monitor showed a tamper alert and GPS showed the
monitor was at his residence. Attempts were made to contact HOPKINS, but he did not answer his phone.

The following day Affiant traveled to the location where the GPS monitor was indicating the device was. At the
location Affiant discovered the ankle monitor had been cut and was in the grass off to the side.

RRC staff contacted the RRM at 2:55pm. USMS was notified May 17, 2022, at 4:10pm.VNS Notifications are
NOT required.

There has been no known media attention given to this case.
                 Case 6:22-mj-00116-JCM Document 1 Filed 05/26/22 Page 3 of 3

As of this date, CLIFFORD HOPKINS has not reported to The Salvation Anny RRC Waco, Texas. HOPKINS'
current whereabouts are unknown. Your affiant requests a warrant fbr arrest be issued for CLIFFORD HOPKINS
for violation of l8 U.S.C. $751, Escape oJ Prisoner in Custodv of lnstit.nion or O.fficer.
                                                                                )     =-2


                                                                          K, Investigator
                                                        United States Marshals Service

       SWORN TO AND SUBSCRIBED before me on the           )6   day of May,2022




                                                        JEFFREY C. MANSKE
                                                        United States Magistrate Judge
